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                  UNITEDSTATESDISTRICTCOURT
             FORTHESOUTHERNDISTRICTOFWESTVIRGINIA

MICHAELSHAWNBILLUPS,

                  Plaintiff,

v.                                       CivilActionNo.: 3:17-cv-03788

WESTERNREGIONALJAIL,
CORRECTIONALOFFICERWADE,
MEDICALSUPERVISORMICHELLECARRand
NURSESUZIE,
                  Defendants.

     MOTIONTODISMISSAMENDEDCOMPLAINTANDALTERNATIVE
              MOTIONFORSUMMARYJUDGMENTBY
         DEFENDANTS, MICHELLECARRAND “NURSESUZIE”

      COMENOW,theDefendants, MichelleCarrandSusieChristian (incorrectly

namedas “NurseSuzie”),bycounsel, D.C.Offutt,Jr.,AnneLilesO’HareandOffutt

NordBurchett, PLLC, pursuant toRules 12(b)and56oftheFederalRulesofCivil

Procedure andrespectfully move thisHonorable CourttodismissthePlaintiff’s

Amended Complaint againstthem. InsupportofsaidMotion, thedefendant states

asfollows:

      1.     PlaintiffClaims MustBeDismissed forFailuretoStateaClaimUpon

WhichReliefCanBeGranted;

      2.     Plaintiff’sClaimMustBeDismissed Because HeFailedtoExhaustHis

Administrative Remedies;

      3.     Plaintiff’sClaimsDoNotMeettheLegalThreshold foraViableEighth

Amendment Claim; and
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      4.    Plaintiff hasfailedtocomplywiththeNoticeofClaimandScreening

Certificate ofMeritrequirements oftheMPLA.

      WHEREFORE, fortheforegoing reasons, Michelle CarrandSusie

Christian, herebymovethisHonorable CourttodismissthePlaintiff’s Complaint

againstthemforfailuretostateaclaimuponwhichreliefcanbegranted, pursuant

toRule12(b)(
           6)oralternatively, theDefendant shouldbegranted summary

judgment fromthisaction, pursuant toRule56,asthereisnogenuine issueof

material factindispute.

                                        RESPECTFULLYSUBMITTED,

                                        MICHELLECARRand
                                          SUSIECHRISTIAN

                                        ByCounsel



s/AnneLilesO’Hare
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